            Case 18-21134-jra      Doc 24        Filed 08/20/18   Page 1 of 5



                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 IN RE: Martin Gabriel Sendejas                     CASE NO.: 18-21134
 Brenda Veronyka Sendejas                           CHAPTER 7
 fka Brenda Origel
 fka Brenda Martinez

               Debtors

MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
                      REAL PROPERTY

       PennyMac Loan Services, LLC, (“Movant”) hereby moves this Court for

abandonment, pursuant to 11 U.S.C. §554 and relief from the automatic stay, pursuant to

11 U.S.C. §362 with respect to certain real property of the Debtors having an address of

4326 Baltimore Ave, Hammond, IN 46327 (the “Property”).

       In further support of this Motion, Movant respectfully states:

       1. A Petition under Chapter 7 of the United States Bankruptcy Code was filed

with respect to the Debtors on April 30, 2018.

       2. The Debtors have executed and delivered or are otherwise obligated with

respect to that certain promissory note in the original principal amount of $78,958.00

(the "Note"). A copy of the Note is attached hereto as Exhibit "A". Movant is an entity

entitled to enforce the Note.

       3. Pursuant to that certain Mortgage (the "Mortgage"), all obligations

(collectively, the "Obligations") of the Debtors under and with respect to the Note and

the Mortgage are secured by the Property. A copy of the Mortgage is attached here to as

Exhibit "B".


18-06544
              Case 18-21134-jra      Doc 24     Filed 08/20/18       Page 2 of 5



       4. All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to that certain assignment(s) of mortgage, a copy of which is attached hereto as

Exhibit "C”.

       5. The legal description of the Property is:

             Lots 38 and 39 and the North Half of Lot 37 in Block 6 in Rolling

             Mill Addition, to the City of Hammond, a per plat thereof, Recorded

             in Plat Book 1 Page 105, in the Office of the Recorder of Lake

             County, Indiana.

        6. As of June 28, 2018, the outstanding principal of the Note was $68,072.47. As

of June 28, 2018, the outstanding amount of the obligations under the Note and Mortgage

less any partial payments or suspense balance is $70,072.53.

        7.       In addition to the other amounts due to Movant reflected in this Motion, as

of the date hereof, Movant has also incurred legal fees and expenses in connection with

seeking the relief requested in this Motion. Movant reserves all rights to seek an award

or allowance of such fees and expenses in accordance with applicable loan documents

and related agreements, of the Bankruptcy Code and otherwise applicable law.

        8.       Cause exists for relief from the automatic stay and abandonment of the

real estate for the following reasons:

                    (a) Movant's interest in the Property is not adequately protected.

                    (b) Pursuant to 11 U.S.C. §362(d)(2)(A), Debtor(s) have no equity in

                        the Property; and pursuant to §362(d)(2)(B), the Property is not

                        necessary for an effective reorganization.



18-06544
            Case 18-21134-jra         Doc 24     Filed 08/20/18   Page 3 of 5



       9. The Movant hereby waives the right under 11 U.S.C. §362(e) to a hearing on

this motion within thirty (30) days of the date it is filed.)

       WHEREFORE, the Movant prays that this Court issue an Order terminating or

modifying the stay and granting the following:

       1. Relief from the stay for all purposes allowed by the Note, the Mortgage, and

applicable law, including but not limited to allowing Movant (and any successors or

assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to

foreclose upon and obtain possession of the Property.

       2. That the 14-day stay described by Bankruptcy Rule 4001(A)(3) be waived.

       3. That the Property be deemed abandoned by the Trustee as an asset of the

bankruptcy estate effective upon entry of the Court's order.

       4. For such other relief as the Court deems proper.


                                                MARINOSCI LAW GROUP, P.C.


                                                /s/ David M. Bengs
                                                David M. Bengs, #16646-20
                                                455 West Lincolnway, Suite B
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18-06544
            Case 18-21134-jra                  Doc 24   Filed 08/20/18   Page 4 of 5



                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

IN RE: Martin Gabriel Sendejas                            CASE NO.: 18-21134
Brenda Veronyka Sendejas                                  CHAPTER 7
fka Brenda Origel
fka Brenda Martinez

              Debtors

                                   CERTIFICATE OF SERVICE

        I certify that on the     day of August, 2018, service of a true and complete copy
                               ✁   ✂   ✄




of the Motion for Relief from Automatic Stay and Abandonment of Property was served
upon each party or attorney of record herein by the Court’s Electronic Case Filing System
or by depositing same in the United States Mail in envelopes properly addressed to each
of them and with sufficient first class postage affixed.

                                                  U.S. Trustee
                                             100 East Wayne Street
                                                   5th Floor
                                           South Bend, IN 46601-2349

                                       Kenneth A. Manning, Trustee
                                          200 Monticello Drive
                                             Dyer, IN 46311

                                       Jonathan Kurt Clasing, Esq.
                                       55 E. Monroe St., Suite 3400
                                            Chicago, IL 60603

       Brenda Veronyka Sendejas fka Brenda Origel fka Brenda Martinez, Debtor
                                4326 Baltimore Ave
                               Hammond, IN 46327




18-06544
           Case 18-21134-jra   Doc 24     Filed 08/20/18         Page 5 of 5



                        Martin Gabriel Sendejas, Debtor
                              4326 Baltimore Ave
                             Hammond, IN 46327

                     All parties listed on the attached Matrix



                                         /s/ David M. Bengs
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18-06544
